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         NT                                               U.S. Depa(ment of Justice

    a                                                     Channing D. Phillips
                                                          United States Attomey

                                                          District of Columbia



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                                                       BY E.\{AIL

                                                       August 23, 2021


Honorable Zia M. Faruqui
Magistrate Judge
United States District Court
District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001


                        Re:    Addendum Order     - {lS y. Shroyer, Case No. 21-mi-      72   (ZMF)


Dear Magistrate Judge Faruqui:

         We write in response to the draft Addendum Order in U.S. v. Shroyer, Case No. 21-mj-572
(ZMF) ("Addendum Order"); and specifically to address the Court's concem that it "received an
unsatisfactory answer" to "the question of whether and how the Department of Justice complied
with its policies [regarding media process] . . . ." Id. at 9. While we regret that the Court has fbund
our response to its inquiry "unsatisf'actory," we believe that our response is appropriate.

        As noted in the Addendum Order, the question before the Court is whether there is probable
cause to believe Jonathon Owen Shroyer committed certain federal offenses on the grounds ofthe
Capitol. in violation   of 18 U.S.C. $$ 1752(a)(1|'(2) and 40 U.S.C. $$ 510a(e)(2)(Df(E).
(Addendum Order at 9). While reviewing the submitted complaint and arrest warrant, the Court
inquired about certain safeguards that the Department ofJustice follows to protect Members ofthe
News Media. But those safeguards fall within the province ofthe Executive Branch and do not
bear on the question of probable cause belbre the Court.

        To be clear, the recent Attomey General memorandum and the applicable regulations
relating to Members of the News Media are binding upon Department attomeys. Like all other
components within the Department ol Justice, this Office is ensuring thal these policies-in this
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case and all others handled by its prosecutors are scrupulously fbllowed. Likewise, the
Department institutes training. accountability. and disciplinary measures that reinforce the
importance of adherence to such requirements. Department attomeys who iail to comply with the
relevant policies can be subject to discipline and administrative sanction.

        The representations that the Department provided previously to the Court were intended to
underscore these points, while at the same time recognizing that enforcement ofthe regulations is
a matter committed to the Executive Branch (and, in particular the Depa(ment) and not the Judicial
Branch-a principle that is expressly set out in the regulations. On July 19, 2021, Attomey
General Merrick Garland issued a memorandum regarding lhe use of compulsory process vis-d-
vis members ofthe media. This policy, however, does not give rise to an enforceable right. t-inited
States v. Caceris,440 U.S. 741, 755-756 (1979). Furthermore, the pertinent Code of Federal
Regulations explicitly states as follows:

        (i) Failure to comply with policy. Failure to obtain the prior approval of       the
        Attomey General, as required by this policy. may constitute grounds for an
       administrative reprimand or other appropriate disciplinary action.

       O General provision.   This policy is not intended to. and does not, create any right
       or benefit, substantive or procedural, enforceable ot lo1+, or in equity by any party
       against the United Stotes, its departments, agencies, or entities, its fficers,
       employees, or agents. or any other person.

28 C.F.R. $ 50.10 (i) and   O   (emphasis added).

        Accordingly, a requirement to proffer to the Court how and on what basis the Executive
Branch has made determinations under these internal Department policies would be inconsistent
with the appropriate role ol the Court with respect to such policies and would risk disclosing
intemal privileged deliberations. Moreover, such inquiries could risk impeding frank and
thoughtful internal deliberations within the Department about how best to ensure compliance with
these enhanced protections for Members of the News Media.

         While we appreciate the issues animating the Court's inquiry. we do not believe that it is
appropriate for the Court to inquire as to how the govemment implements its intemal policies.
Particularly when dealing with actions of the Executive Branch, separation of powers principles
constrain the courts' inherent and supervisory authority. See.e.g.,Lairdy.Tatum,408U.S. 1. l5
(1972) (separation ol powers forbids courts from becoming "continuing monitors ofthe wisdom
and soundness of Executive action"): Perkins v. Lukens Steel Co , 3 10 U.S. 1 13, l3 1 ( 1940) ("The
interference ofthe courts with the performance ofthe ordinary duties olthe executive departments
of the govemment, would be productive of nothing but mischief; and we are quite satisfied that
such a power was never intended to be given to them.").

       As the Court notes, Addendum Order at 7-8, this Office has conferred on previous
occasions with the Court regarding certain aspects ofthe Department's media polices. Inthemain,
those situations are distinguishable; and, in any event, the govemment is not bound by those prior
actions. C/ United States v. Mendoza,464U.S. 154, 160-161 (1984) (govemment is not estopped


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simply because it does not contest every adverse ruling)

          Please feel free to contact me,   if you   have any questions or would like to discuss this issue
further




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                                            Channing D. Philtips
                                            Acting United States Attomey




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                                     I          ief, Criminal Divis




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